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IN THE UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

CHERYL DI BONA
CIVIL ACTION NO. 16-5400
Plaintiff,
v.
CUBESMART, L.P.
Defendant.
NOTICE OF DISMISSAL

 

Plaintiff, Cheryl Di Bona, through her undersigned counsel, hereby voluntarily dismisses

the above-captioned action, with prejudice, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)@).

CONSOLE MATTACCI LAW, LLC

Date: February 20, 2017 BY: fC a ZLL}
Caren N. Gurmane Psayite
1525 Locust Streét, 9" Floo
Philadelphia, PA 19102

Attorney for Plaintiff,
Cheryl Di Bona
